Case 8:14-cv-01390-JSM-TBM Document 27 Filed 09/30/14 Page 1 of 2 PageID 291



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

                             CASE NO.: 8:14-CV-01390-JSM-TBM

MICHAEL DICKERSON, an individual,
on behalf of himself and all others similarly
situated,

       Plaintiff,                                                     CLASS ACTION

vs.

LABORATORY CORPORATION OF
AMERICA, INC., a Delaware corporation,
d/b/a “LabCorp,” and “LCA Collections,”

       Defendant.
                                            /


                                  NOTICE OF SETTLEMENT

       Plaintiff, Michael Dickerson, an individual, on behalf of himself and all others similarly

situated, by and through his undersigned attorney, pursuant to Rule 3.08, Local Rules of the

United States District Court, Middle District of Florida, hereby provides notice of the settlement

of the above referenced action. Plaintiff requests that the Court enter an order directing that the

action be dismissed subject to the right of any party to move the Court within sixty (60) days

thereafter for the purpose of entering a stipulated form of final order or judgment.


                                                      /s/ Robert W. Murphy
                                                      ROBERT W. MURPHY
                                                      Florida Bar No. 717223
                                                      1212 S.E. 2nd Avenue
                                                      Ft. Lauderdale, FL 33316
                                                      (954) 763-8660 Telephone
                                                      (954) 763-8607 Fax
                                                      Email: rphyu@aol.com and
                                                      rwmurphy@lawfirmmurphy.com
Case 8:14-cv-01390-JSM-TBM Document 27 Filed 09/30/14 Page 2 of 2 PageID 292




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 30, 2014, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day on Sharon Carlstedt Britton, Esquire, Phelps Dunbar LLP, 100 South
Ashley Drive, Suite 1900, Tampa, Florida 33602, Robert I. Steiner, Esquire and Lauri
Mazzuchetti, Esquire, 101 Park Avenue, New York, New York 10179, in the manner specified,
either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive electronically
Notices of Electronic filing.



                                                   /s/ Robert W. Murphy
                                                   Attorney
